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                                                                            Jay Marshall Wolman
                                                                      Licensed in CT, MA, NY, DC




                                                                               July 11, 2019

Via CM/ECF

The Honorable Loretta A. Preska
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Giuffre v. Maxwell, Case No. 15-cv-7433
               Request to be Excused from July 25 Conference (Doc. No. 973)

Dear Judge Preska,

I have the privilege of representing Intervenor Michael Cernovich d/b/a Cernovich Media.
On July 9, 2019, the Court issued an Order scheduling a Conference for July 11, 2019
relative to the forthcoming mandate from the U.S. Court of Appeals for the Second Circuit.
Yesterday, Your Honor allowed the letter-motion of Defendant Maxwell to adjourn the
Conference. Dkt. No. 973. In so doing, Your Honor rescheduled the Conference for July
25, 2019 at 3:00 p.m.

I am unavailable on July 25 due to travel and will likely not even have telephone access at
that time. Rather than further delay the process toward unsealing the remainder of the
record, I request to be excused from participating in the Conference.

Counsel for Plaintiff, Defendant, and Intervenors Miami Herald, Brown, and Dershowitz
do not oppose the request to be excused.

Thank you.



                                             Sincerely,




                                             Jay Marshall Wolman
                                             Counsel for Intervenor Michael Cernovich

                 100 Pearl Street, 14th Floor, Hartford, Connecticut 06103
                           jmw@randazza.com | 702.420.2001
